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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Rose Thomas
                                Plaintiff,
v.                                                  Case No.: 1:21−cv−06000
                                                    Honorable Ronald A. Guzman
Ford Motor Company
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, March 14, 2023:


        MINUTE entry before the Honorable Ronald A. Guzman: In−person motion
hearing held 3/14/2023. Attorney NaVarrio Wilkerson's motion to withdraw as counsel on
behalf of Plaintiff Rose Thomas [39] is granted. As stated in open court, Plaintiff has 30
days to find a new attorney. Status hearing set for 4/13/2023 at 10:30 a.m. Mailed notice.
(kp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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